  Case: 1:15-cv-01164 Document #: 373 Filed: 01/30/20 Page 1 of 2 PageID #:11053




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                :
MONETTE E. SACCAMENO,                           :
                                                : Case No. 1:15-cv-1164
                        Plaintiff,              :
                                                : Hon. Joan B. Gottschall
                     v.
                                                :
OCWEN LOAN SERVICING, LLC, and U.S.             : Magistrate Judge Susan E. Cox
BANK NATIONAL ASSOCIATION, as trustee for :
C-Bass Mortgage Loan Asset-Backed Certificates, :
Series 2007 RP1,                                :
                                                :
                        Defendants.             :
                                                :
                                                :

                                  AMENDED JUDGMENT

       Pursuant to the jury verdict and the mandate of the United States Court of Appeals for the

Seventh Circuit dated January 29, 2020, it is ORDERED that the final Judgment dated June 2,

2018, is amended as follows. Judgment pursuant to Rule 58 is hereby entered as follows:

       (1) in favor of the plaintiff, Monette E. Saccameno, and against defendants, Ocwen Loan

Servicing, LLC and U.S. Bank National Association, as trustee for C-Bass Mortgage Loan Asset-

Backed Certificates, Series 2007 RP1 on Count I, and against defendant, Ocwen Loan Servicing,

LLC on Counts II and IV. Plaintiff is awarded actual damages in the amount of $500,000 on

Counts I, II and IV.

       (2) in favor of the plaintiff, Monette E. Saccameno, and against defendants, Ocwen Loan

Servicing, LLC and U.S. Bank National Association, as trustee for C-Bass Mortgage Loan Asset-

Backed Certificates, Series 2007 RP1 on Count III in the amount of $12,000 for economic loss

and $70,000 for non-economic loss and punitive damages in the amount of $582,000.
  Case: 1:15-cv-01164 Document #: 373 Filed: 01/30/20 Page 2 of 2 PageID #:11054




       (3) Count V is dismissed with prejudice pursuant to the memorandum opinion and order

entered November 8, 2017.

       (4) Count VI only of the complaint is dismissed without prejudice to become with

prejudice after the expiration of 30 days unless any party moves to reinstate said count.

       (5) Post-judgment interest accrues on the amount of the judgment at the rate provided by

law from the date of this judgment.

       (6) Plaintiff shall recover costs from defendants.



Done this, 30th, day of January 2020.

                                                     ___________________________
                                                     The Honorable Joan B. Gottschall
                                                     United States District Judge




                                                 2
